| Brittany Thaler

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| Email: bthaler@iprotech.com
| Defendant, in. proper person.

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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF ARIZONA

| JOHN H.. THALER, ) Case No.: CV-21-01419-PHX-MHB |.

)
Plaintiff, ) MOTION TO DECLARE JOHN |.
). THALER A VEXATIOUS.
VS. ) LITIGANT

)

|BRIFTANY RAE THALER, et al. ) (Fhe Honorable Douglas Reyes)

Defendants.

Nem ee ee eee” See”

I, Brittany Thaler, representing myself, move this Court to declare

| Plaintiff John Thaler (“Thaler”).a vexatious litigant. I make this motion pursuant |.

|to the All Writs Act, 28 U.S.C. § 1651(a).

+E INFRODUCTION AND FAC FUAL BACKGROUND.

The vexatious litigant codes were written with litigants like Thaler in

|mind.. Thaler is a convicted criminal; on August 24 and 25, 2021, at a trial at]

| which he didn’t even bother to appear, Thaler was convicted on three counts of |

Page t of

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21

| violating an order of protection against me, his ex-wife, under A.R.S. § 13-
'|2801(A)(2). See Victim Letters, attached as. Exhibits A-C.' And Thaler should |
| know better. He is a licensed attorney in California. Yet he has spent the past 20 |
| months attempting to bankrupt, harass, and harangue me — a technical trainer |
+who is 23 years his junior with a fraction of his financial and legal resources — |
by using the judicial system, and his own legal experience as a thirty-year
lawyer, against me. To date, I have incurred over $110,000 in fees defending |
‘myself against this onslaught of judicial abuse. As clearly illustrated below, |
Thaler is flagrantly abusing the legal system and tying up judicial resources that

ought to be expended elsewhere. The court should deem him a vexatious litigant. |

|County, Arizona. The decree of dissolution of marriage was entered on January,
18, 2021, see Decree of Dissolution of Marriage attached as Exhibit D, but not
| before Thaler had engaged in a year-long campaign of harassment against me and

abuse of the judicial process. Indeed, Thaler filed so many frivolous motions that,

|further motions from [Thaler] until the Court has reviewed [Thaler’s] motions,

going forward and determines that a response is warranted. The Court takes this;

Victims. Advocate informs.me that until sentencing, the letters are the best evidence of
these convictions.

On December 13, 2019, I filed for divorce from Thaler in Maricopal

the court entered a minute entry ordering that I “do[] not have to respond to any|

' Thaler was convicted in CR2020-047858, 2021-018183, and 2021-018310. My

Page 2 of 9

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| action due to the repetitive nature and claims contained in [Thaler’s] motions.”

| See September 2, 2020 Minute Entry attached as. Exhibit E.

court found that Thaler, among other things:

|The court sanctioned Thaler and ordered him to pay me more than $90,000 int
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legal fees and costs. See orders attached as Exhibits F-H. The court granted me|

Thaler’s bad conduct was well documented in the divorce decree. The

Refused to engage in reasonable negotiations. See Exhibit D at 2.
Filed frivolous pleadings. /d.
Engaged in inappropriate and unreasonable behavior. Id.

Was in a state of mental health that was. questionable and of serious.
concern. /d. at 2, 3, 8.

Failed to complete and even blatantly refused to engage in court-ordered]
psychological evaluation. /d. at 3, 8, 15.

Filed pleadings and made comments towards me, the Court, and opposing}
counsel that were extreme, disrespectful, delusional and erratic. /d. at 2, 8.

Intentionally misled the court by making baseless and unfounded)
allegations, including allegations that I and the court itself were involved
in a scheme to defraud Thaler, in an effort to persuade the court to enter
rulings favorable to Thaler. /d. at 4.
Made claims that did not appear to be “tethered to reality,” and was
“ageressive, vulgar, and belligerent” towards all parties involved in the
case, as well as the court. /d. at 8.

Acted in a manner that could seriously endanger the wellbeing and safety
of his child. /d. at 8.

Filed pleadings that were “incoherent/delusional,” solely for the purpose
of threatening and harassing everyone involved in the case. Jd. at 13.

Page 3 of 9

sole legal decision-making authority over our minor son and granted Thaler

| supervised parenting time only. See Exhibit D at 7-8.

But in spite of the court’s scathing rebuke of Thaler’s conduct, Thaler was

undeterred. Shortly after the court entered the decree of dissolution, Thaler filed.
jan unsolicited ex parte communication claiming, with no evidence, that the

| divorce decree had been forged by my attorney. See Exhibit I. And then, in a

last-ditch effort to avoid the consequences of his actions, Thaler moved to have

his judge disqualified and all orders set aside; the motions to disqualify were,
|unsurprisingly denied. See Exhibits J-L.. The remaining flurry of motions were.

| denied July 1, 2021.

While the divorce case was pending, Thaler engaged in harassing conduct

+ toward me even outside the confines of the case, resulting in a judge of the Gilbert;
Municipal Court entering an order of protection against him on November 12]
| 2020. See Exhibit D at 5. I had also previously obtained an Order of Protection|
through Maricopa County Superior Court on December 12, 2019. Thaler violated
} the orders of protection on numerous occasions and had 26 encounters with the
|| Mesa Police Department between December 13, 2019 and the date of the divorce}
|decree that involved “charges/allegations of interference with judicial
|proceedings, custodial interference or an Order of Protection.” /d. He wad

recently convicted of three counts of violating that Order, as discussed above.

Page 4 of 9

December 18, 2020, just three weeks before the divorce decree was. entered in|

| Maricopa County, Thaler sued me in Clark County, Nevada, seeking a divorce

troubling is that | have no connection to the state of Nevada; according to the
| Complaint, Thaler had moved there at some point prior to filing suit. /@. at § 1]
{In the Complaint for Annulment that Thaler filed in the Clark County court, he
 baselessly claimed that [had committed polygamy and fraud, and made a number
jof other false statements in an effort to gain custody of his child, despite the,
+ Maricopa County court having already decided this issue. /d. at | 2. In particular,
| Thaler accused me and my family of being “career criminals” who engaged in|

| “real estate fraud, money laundering, insurance fraud, mortgage fraud, tampering

lof these allegations has the remotest basis in truth. Much like Thaler’s conduct

| involving insurance fraud, skimming money from the state, narcotics sales, and
|money laundering. /d. at [9 9 12-31. The California court recently dismissed that,

| lawsuit for lack of jurisdiction. See Exhibit O.

Apparently not satisfied with abusing Arizona’s legal system, onl

and custody of our child. See Exhibit M. What makes this lawsuit particularly|

with official records, bribery, forgery and extortion.” /d at Attachment 2A. Nong

during the divorce proceedings, these allegations were not “tethered to reality.” |
Then on March 1, 2021, Thaler sued me in California State Court, despite,
me having no ties to California either. See Exhibit N. As in the Nevada suit, he

alleged that | and my family were conducting an elaborate criminal enterprise}

Page 5 of 9

\court in the District of Central California. See Exhibit P. In this 83-page
complaint, Thaler makes similar spurious allegations to those he made in Nevada
| and California state court, as well as claims that I participated in election fraud
itr the recent 2020 Presidential Election. /d. at fj 43-78. That case was recently}
| transferred to this Court because, as Judge Fischer correctly acknowledged, “the
lack of venue [in California] is obvious and will cause a massive waste off
‘| Defendants” and the Court’s resources.” See Exhibit Q, at 2. Judge Fischer also
| correctly pointed out that even in addressing the venue issue, Thaler “filed
responses” that were “largely irrelevant to the issue” and did not “provide any;
|support” for Thaler’s position. /d. at 1-2. That has been Thaler’s M.O!

| throughout.

lof the legal system until this Court makes him. I respectfully request, therefore,
that the Court deem Thaler to be a vexatious litigant.

Hi. Legal Analysis.

inherent power to enter pre-filing orders against vexatious htigants.” Molskt v.
Evergreen Dynasty Corp., 500 F.3d 1047, 1057 (9th Cir. 2007). Although such
orders. should only be entered “after a cautious review of the pertinent

| circumstances,” nevertheless, “flagrant abuse of the judicial process cannot be

And on April 2, 2021, Thaler filed suit against me and others in F ederall

Thaler has made it clear that he wilt not stop his bullying of me or his abuse

“The All Writs Act, 28 U.S.C. § 1651(a), provides district courts with the

Page 6 of 9

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tolerated because it enables one person to preempt the use of judicial time that!
properly could be used to. consider the meritorious. claims. of other litigants.” Jd!
| Accordingly, there are four factors for district courts to examine before entering]

pre-filing orders:

| opportunity to be heard. I have provided an adequate record for review. And there]
{is no question that the facts I have presented show that Thaler’s litigation efforts
are intended solely to. harass me and are utterly frivolous. Indeed, the Maricopa}
| County court recognized as much during the divorce proceedings, and since the
| divorce decree was entered, Thaler has filed three additional lawsuits making the
same kinds of “baseless and unfounded allegations” that he made in Arizona,

allegations that simply are not “tethered to reality.”

| fit the specific vice encountered.” Here, Thaler has a pattern of filing lawsuit aftey
20. |}

First, the litigant must be given notice and a chance to
be heard before the order is entered. . . . Second, the
district court must compile an adequate record for
review. . . . Third, the district court must make
substantive findings about the frivolous or harassing
nature of the plaintiffs litigation. . . . Finally, the
vexatious litigant order must be narrowly tailored to
closely fit the specific vice encountered.

Id. (internal citations omitted).

The four factors apply here. Thaler has been given notice and anil

Lastly, the Court must enter an order that is “narrowly tailored to closely;

lawsuit and motion after motion, all of which force me to incur the cost and

Page 7 of 9

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|emotional stress of responding. Accordingly, I request that the Court enter an]

‘And in the event that Thaler disregards that order, I request that the Court enter
||an order that I need not respond to any pleading, motion, or other paper filed by)

| Fhaler unless the court finds that a response is warranted.

| manage its own docket. See, e.g., Buzzard v. Wengler, 395 Fed. Appx. 373, 374
|(9® Cir. Sep. 7, 2010). So, as the Maricopa County court recognized, the Court]
|may enter such an order sua sponte even without a motion from me. See Exhibit
-B. Such: an order would prevent Thaler from continuing to use litigation as a
| bullying tactic but would still allow him to seek legal relief if and when he files|
| something legitimate.

TEE. Conclusion.

order that Thaler must seek leave of court before filing any lawsuit or motion
And in the event that Thaler disregards that order, I request that the court enter
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' Fhaler unless the court finds that a response is warranted.

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As to the latter form of relief, every court has the inherent authority tol

For all the reasons stated herein, I humbly request that the Court enter an

Dated: Thursday, September 02, 2021.

Page 8 of S

Respectfully Submitted:

Byit
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1, IN proper person

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/s/ Brittany Thaler

Page 9 of 9

